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           IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
                Plaintiff,    )                 8:00CR130
                              )
          v.                  )
                              )
ALFREDO CORTES,               )                       ORDER
                              )
                Defendant.    )
______________________________)


           This matter is before the Court on defendant’s motion

to continue plea hearing (Filing No. 406).             Defendant has filed a

written waiver of speedy trial (Filing No. 404).               Accordingly,

           IT IS ORDERED that the Rule 11 hearing is rescheduled

for:

                 Friday, September 21, 2007, at 9 a.m.

in Courtroom No. 5, Roman L. Hruska United States Courthouse, 111

South 18th Plaza, Omaha, Nebraska, or as soon thereafter as may

be called by the Court.      The additional time will give counsel

adequate time to complete plea negotiations and will accommodate

the Court’s schedule.     The ends of justice will be served by

continuing this case and outweigh the interests of the public and

the defendant in a speedy trial.        The additional time between

September 6, 2007, and September 21, 2007, shall be deemed
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excludable time in any computation of time under the requirement

of the Speedy Trial Act.      18 U.S.C. § 3161(h)(8)(A) & (B).

           DATED this 5th day of September, 2007.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    ______________________________
                                      LYLE E. STROM, Senior Judge
                                      United States District Court




                                     -2-
